     Case 1:20-cv-00150-JCG Document 86         Filed 04/11/22    Page 1 of 18


                  UNITED STATES COURT OF INTERNATIONAL TRADE
                      BEFORE JENNIFER CHOE-GROVES, JUDGE


                                                )
SEAH STEEL CORPORATION,                         )
                                                )
                     Plaintiff,                 )
                                                )
                     v.                         )
                                                )
UNITED STATES,                                  )
                                                )
                     Defendant,                 )
                                                    Court No. 20-00150
                                                )
                    and                         )
                                                )
UNITED STATES STEEL CORPORATION,                )
IPSCO TUBULARS INC., MAVERICK TUBE              )
CORPORATION, TENARIS BAY CITY, INC.,            )
AND VALLOUREC STAR L.P.                         )
                                                )
                     Defendant-Intervenors.     )
                                                )



                                 COMMENTS OF
                            SEAH STEEL CORPORATION
           IN SUPPORT OF COMMERCE’S JANUARY 24, 2022, REDETERMINATION




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April 11, 2022
   Case 1:20-cv-00150-JCG Document 86                                     Filed 04/11/22             Page 2 of 18




                                                      Table of Contents


                                                                                                                               Page

ARGUMENT ............................................................................................................................ 2

       A.     Commerce’s Reversal of its PMS Finding
              on Remand Was Consistent with this Court’s
              Decision that Commerce’s Analysis was
              Unsupported by Substantial Evidence ................................................................... 2

       B.     Contrary to U.S. Steel’s Claims, Commerce Did
              Not Misunderstand this Court’s Remand Order .................................................... 4

       C.     The Decision by the Federal Circuit in
              NEXTEEL Does Not Require Reconsideration
              of this Court’s Previous Decision in This Appeal ................................................. 8

             1.       The Federal Circuit’s Decision in NEXTEEL
                      Upheld This Court’s Substantive Conclusion,
                      But Remanded to Correct a Procedural Error ............................................... 8

             2.       The Federal Circuit’s Decision in NEXTEEL
                      Did Not Reject this Court’s Interpretation of the
                      Statutory Requirements for Finding that a PMS Exists .............................. 10

                      a.     The Meaning of “Particular” ............................................................... 11

                      b.     Reliance on Evidence Concerning Events Not
                             Contemporaneous with the Review Period ......................................... 12

       D.     Differential Pricing Analysis ............................................................................... 13

CONCLUSION ........................................................................................................................ 14




                                                                 -i-
   Case 1:20-cv-00150-JCG Document 86                                   Filed 04/11/22            Page 3 of 18




                                                   Table of Authorities

                                                                                                                            Page

COURT DECISIONS

Changzhou Trina Solar Energy Co. v. United States,
   466 F. Supp. 3d 1287 (Ct. Int'l Trade 2020) ................................................................... 7

Elkem Metals Co. v. United States,
   28 C.I.T. 2032 (2004) ...................................................................................................... 7

Jinxiang Hejia Co. v. United States,
    35 C.I.T. 1190 (2011) ...................................................................................................... 7

NEXTEEL Co. v. United States,
  392 F. Supp. 3d 1276 (Ct. Int'l Trade 2019) ................................................................... 8

NEXTEEL Co. v. United States,
  450 F. Supp. 3d 1333 (Ct. Int'l Trade 2020) ............................................................... 8, 9

NEXTEEL Co. v. United States,
  28 F.4th 1226 (Fed. Cir. 2022) ................................................................ 9, 10, 11, 12, 13

SeAH Steel Corp. v. United States,
   539 F. Supp. 3d 1341 (Ct. Int'l Trade 2021) ............................................... 2, 5, 6, 10, 11

SeAH Steel Corp. v. United States,
   513 F. Supp. 3d 1367 (Ct. Int'l Trade 2021) ................................................................. 11

Union Camp Corp. v. United States,
   23 C.I.T. 264 (1999) ................................................................................................ 5, 6, 7

STATUTES AND REGULATIONS

19 U.S.C. § 1516a(b)(1)(B)(i) ............................................................................................... 7

19 U.S.C. § 1677b(e) ........................................................................................................... 12




                                                              -iii-
    Case 1:20-cv-00150-JCG Document 86           Filed 04/11/22    Page 4 of 18




                    UNITED STATES COURT OF INTERNATIONAL TRADE
                        BEFORE JENNIFER CHOE-GROVES, JUDGE


                                            )
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                     Defendant,             )
                                                  Court No. 20-00150
                                            )
                   and                      )
                                            )
UNITED STATES STEEL CORPORATION,            )
IPSCO TUBULARS INC., MAVERICK TUBE          )
CORPORATION, TENARIS BAY CITY, INC.,        )
AND VALLOUREC STAR L.P.                     )
                                            )
                     Defendant-Intervenors. )
                                            )


                                 COMMENTS OF
                            SEAH STEEL CORPORATION
           IN SUPPORT OF COMMERCE’S JANUARY 24, 2022, REDETERMINATION


     This brief is submitted on behalf of SeAH Steel Corporation (“SeAH”) in support of

Commerce’s January 24, 2022, Remand Redetermination1 and in response to the

March 21, 2022, comments filed by Defendant U.S. Steel Corporation in the above-

captioned appeal.




1
 See Commerce’s January 24, 2022, Remand Redetermination, ECF No. 80 (hereinafter
“Remand Redetermination”).
    Case 1:20-cv-00150-JCG Document 86              Filed 04/11/22     Page 5 of 18




                                         ARGUMENT

       A.    Commerce’s Reversal of its PMS Finding
             on Remand Was Consistent with this Court’s
             Decision that Commerce’s Analysis was
             Unsupported by Substantial Evidence

       In the fourth review of the antidumping order on Oil Country Tubular Goods

(“OCTG”) from Korea that is the subject of this appeal, Commerce found that a particular

market situation (“PMS”) existed with respect to hot-rolled steel coils in Korea due to the

alleged interplay of the following five factors: (1) alleged steel overcapacity and price

suppression; (2) alleged Korean-government subsidization of hot-rolled coil; (3) alleged

anti-competitive practices within the Korean steel industry, (4) distorted electricity input

costs for OCTG (not hot-rolled coil) producers, and (5) alleged Korean government

restructuring efforts of the steel industry.2 SeAH appealed that finding. And, after

consideration of all arguments presented by the parties and the administrative record, the

Court held that Commerce’s finding of a PMS was not supported by substantial evidence.

The Court’s opinion fully considered both Commerce’s reasoning and the evidence relied

upon by Commerce, and provided a detailed explanation of the deficiencies with respect to

Commerce’s findings on each of the alleged factors.3 The Court did not, however, direct

Commerce to reverse its PMS finding. Instead, the Court remanded “Commerce’s

particular market situation determination for further explanation or reconsideration

consistent with {its} opinion.”4



2
 See SeAH Steel Corp. v. United States, 539 F. Supp. 3d 1341, 1356-57 (Ct. Int’l Trade
2021).
3
    See id. at 1351-58.
4
    Id. at 1358.


                                             -2-
     Case 1:20-cv-00150-JCG Document 86            Filed 04/11/22     Page 6 of 18




       In its draft remand redetermination, Commerce explained that it disagreed with the

analysis set forth in the Court’s decision.5 Nevertheless, Commerce found “an insufficient

evidentiary basis to sustain an affirmative PMS finding… consistent with the Court’s

opinion.”6 Accordingly, Commerce stated its preliminary intention to reverse its finding

that a PMS existed with respect to hot-rolled steel coils in Korea.7 Commerce then

allowed parties to comment on the draft remand redetermination.

       In response to Commerce’s invitation, U.S. Steel submitted extensive comments

arguing, inter alia, that substantial evidence did support a finding of a PMS. In support of

its arguments, U.S. Steel pointed to certain “additional” information that it claimed had not

been considered by the Court but supported a finding that a PMS did exist.8

       In its final remand redetermination, Commerce addressed each argument presented by

U.S. Steel.9 Commerce explained that, after re-examining the administrative record in

light of the Court’s opinion, U.S. Steel’s arguments and “additional” evidence were

insufficient to support a PMS finding. In particular, Commerce found that the “additional”

information cited by U.S. Steel regarding the alleged distortions caused by Chinese hot-

rolled steel simply reinforced evidence the Court had already considered concerning

alleged global steel overcapacity.10 Furthermore, Commerce found that the “additional”


5
 See Commerce’s December 10, 2021, Draft Remand Redetermination at 5 (Public
Remand Record (“PRR”)-1).
6
    Id. at 6 (PRR-1).
7
    Id. at 7 (PRR-1).
8
    See U.S. Steel’s December 17, 2021, Draft Remand Comments (PRR-6).
9
    See Remand Redetermination at Issue 1.
10
     See id. at 18-19.


                                             -3-
     Case 1:20-cv-00150-JCG Document 86              Filed 04/11/22      Page 7 of 18




evidence cited by U.S. Steel concerning other alleged PMS factors had already been

considered by Commerce during the original review proceedings.11 In light of those

findings, Commerce concluded that U.S. Steel’s comments did not provide a basis for

finding that a PMS existed.12

       Commerce’s Remand Redetermination is plainly consistent with the Court’s remand

order and Commerce’s obligations on remand. In the remand proceeding, Commerce

reconsidered its original decision in light of the findings in the Court’s opinion, re-

examined the full record before it, solicited comments from all interested parties, and

addressed all of the arguments and evidence presented by the parties. There is no basis on

this record for faulting Commerce’s remand procedures.

       B.    Contrary to U.S. Steel’s Claims, Commerce Did
             Not Misunderstand this Court’s Remand Order

       U.S. Steel nevertheless contends that Commerce’s redetermination on Remand

Redetermination reflects a misunderstanding of this Court’s October 19, 2021, decision.

According to U.S. Steel, Commerce mistakenly “constru{ed} the Remand Order as

imposing extremely strict bright line rules with respect to the ‘particularity’ of market

distortions and the contemporaneousness of record evidence with the review period.”13 In

addition, U.S. Steel also contends that “in several instances Commerce unlawfully

abdicated its statutory responsibility to find facts in the first instance, variously conflating

evidence considered by the Remand Order with evidence newly discussed on remand...,



11
     See id. at 22-23.
12
     See id. at 24.
13
 See U.S. Steel’s March 21, 2022, Comments in Opposition to the Remand at 1-2, ECF
No. 84.


                                              -4-
     Case 1:20-cv-00150-JCG Document 86               Filed 04/11/22    Page 8 of 18




uncritically adopting the Remand Order’s statements of fact that are contradicted by the

record..., and treating the Court’s sua sponte findings of fact as binding....”14 According to

U.S. Steel, Commerce’s Remand Redetermination is “legally erroneous” because

Commerce misconstrued the Court’s remand order as preventing Commerce from broadly

reanalyzing the record on remand.15 Those claims are false.

        As mentioned, this Court’s decision found that Commerce’s initial PMS finding was

unsupported by the evidence cited in the initial determination, and it explained why the

Court reached that decision.16 The Court did not instruct Commerce to adopt the Court’s

factual findings as its own. Instead, the Court instructed Commerce to further explain its

determination based on the record evidence and in light of the Court’s evaluation of

Commerce’s initial determination. And, in its Remand Redetermination, Commerce did

precisely what the Court had instructed it to do: Commerce re-examined the evidence to

take into account the flaws in its initial analysis that had been identified by the Court’s

decision.

        U.S. Steel’s argument that Commerce misconstrued the Court’s decision relies

primarily on the decision by this Court in Union Camp.17 However, Union Camp is readily

distinguishable. Union Camp involved a statutory provision that explicitly permits

Commerce to use either cost or price data to value an input.18 Despite this statutory

language, the Court’s remand order in Union Camp had instructed Commerce to value an

14
     Id. at 2.
15
     See id. at 19-20.
16
     See SeAH Steel Corp., 539 F. Supp. 3d at 1358.
17
     See U.S. Steel’s Comments at 19-20.
18
     See Union Camp Corp. v. United States, 23 C.I.T. 264, 272-73 (1999).


                                             -5-
     Case 1:20-cv-00150-JCG Document 86               Filed 04/11/22    Page 9 of 18




input “based on an appropriate cost.”19 On remand, Commerce interpreted the Court’s

instruction literally, as not permitting price-based values to be used, despite the statutory

provision explicitly permitting the use of price-based values.20 In its review of

Commerce’s remand determination in Union Camp, this Court held that Commerce’s

interpretation was improper and remanded the matter again for Commerce to consider all

evidence on the record (i.e., cost and price data) when selecting the best available

information to value the input.21

       It should be obvious that Union Camp has no relevance to the present appeal. In this

case, the Court’s instructions were clear and did not impose any limits on the evidence that

Commerce could consider on remand.22 Furthermore, Commerce did not apply any such

limits to its reconsideration of the evidence. Instead, Commerce explicitly stated that it

had reconsidered all evidence on the record in reaching its Remand Redetermination.23

And, in fact, Commerce’s redetermination specifically addressed all of the “additional”

evidence that U.S. Steel claimed had not been previously evaluated by the Court.24 After

that review, Commerce concluded that it was unable to justify a PMS finding consistent

with the Court’s opinion.25 There is simply nothing “legally erroneous” in Commerce’s




19
     Id. at 272.
20
     Id.
21
     Id. at 275.
22
     See SeAH Steel Corp., 539 F. Supp. 3d at 1358.
23
     See e.g., Remand Redetermination at 24.
24
     See id. at 18-19 and 22-23.
25
     See id. at 24.


                                               -6-
 Case 1:20-cv-00150-JCG Document 86                  Filed 04/11/22      Page 10 of 18




analysis.26 Instead, Commerce’s Remand Redetermination reflects the normal appellate

process which requires Commerce to support each and every determination with

substantial evidence consistent with the Court’s opinion.27

       It is clear that U.S. Steel simply disagrees is with the Court’s application of the

substantial-evidence standard, and with Commerce’s subsequent application of that

analysis on remand.28 However, the Court’s substantial-evidence analysis was fully in line

with its statutory authority.29 Furthermore, Commerce’s Remand Redetermination

properly evaluated the record evidence and U.S. Steel’s arguments against the Court’s

determination regarding the sufficiency of the evidence.




26
  The other cases cited by U.S. Steel (Changzhou Trina Solar Energy and Jinxiang Hejia)
are also inapplicable. See U.S. Steel’s Comments at 19-20. In those cases, the Court
simply explained that when a determination is remanded for further explanation, the
remand order cannot be construed as requiring a particular outcome. See Changzhou Trina
Solar Energy Co. v. United States, 466 F. Supp. 3d 1287, 1301 (Ct. Int’l Trade 2020) and
Jinxiang Hejia Co. v. United States, 35 C.I.T. 1190, 1195–96 (2011). In both cases, the
Court upheld Commerce’s remand redetermination, which changed its initial determination
by using a different methodology on remand that was shown to be reasonable and
supported by substantial evidence. See Changzhou, 466 F. Supp. 3d at 1301 and Jinxiang,
35 C.I.T. at 1196.
27
  Indeed, the Court in Union Camp explained that “…if a slip opinion has been issued
along with an order or judgment, Commerce should use that document in resolving any
questions that may arise.” Union Camp, 23 C.I.T. at 285.
28
     See U.S. Steel’s Comments at 18-28.
29
  See 19 U.S.C. § 1516a(b)(1)(B)(i); see also Elkem Metals Co. v. United States, 28 C.I.T.
2032, 2035–36 (2004) (explaining that pursuant to the Court’s statutory authority, the
Court bases its holding on its review of the record, including any factual findings sua
sponte).


                                               -7-
 Case 1:20-cv-00150-JCG Document 86                 Filed 04/11/22     Page 11 of 18




       C.    The Decision by the Federal Circuit in
             NEXTEEL Does Not Require Reconsideration
             of this Court’s Previous Decision in This Appeal

       Finally, U.S. Steel suggests that this Court’s October 19, 2021, decision in this appeal

was effectively overturned by the recent decision by the Court of Appeals for the Federal

Circuit in NEXTEEL, which addressed this Court’s decisions concerning the existence of a

PMS in the earlier second administrative review of OCTG from Korea.30 That claim is

not, however, consistent with the actual holdings of the Federal Circuit’s decision.

             1.   The Federal Circuit’s Decision in NEXTEEL
                  Upheld This Court’s Substantive Conclusion,
                  But Remanded to Correct a Procedural Error

       As the Court may recall, Commerce’s PMS finding in the second OCTG review was

originally based on an allegation of four factors.31 This Court’s initial decision in the

second OCTG review held that Commerce’s PMS finding was not supported by substantial

evidence and remanded the matter to Commerce for further explanation.32 On remand,

Commerce identified a fifth factor that allegedly supported a PMS finding (which were the

same five factors relied upon by the PMS finding in the fourth OCTG review that is the

subject of the present appeal).33 Based on consideration of these five factors, Commerce’s


30
     See U.S. Steel’s Comments at 9-17.
31
  See NEXTEEL Co. v. United States, 392 F. Supp. 3d 1276, 1287-1288 (Ct. Int’l Trade
2019) (hereinafter “NEXTEEL-I”) (The four factors included “(1) subsidies provided by
the Government of Korea to producers of hot-rolled coil; (2) the flood of Chinese hot-
rolled flat products and the resulting pressure on Korean domestic hot-rolled coil prices;
(3) strategic alliances between Korean hot-rolled coil suppliers and Korean oil country
tubular good producers; and (4) the Government of Korea’s influence on the cost of
electricity.”).
32
     See id. at 1288.
33
  NEXTEEL Co. v. United States, 450 F. Supp. 3d 1333, 1337-38 (Ct. Int’l Trade 2020)
(hereinafter “NEXTEEL-II”) (“Commerce considered a new fifth factor… an alleged ‘steel
industry restructuring effort’ by the Korean Government.”).


                                              -8-
 Case 1:20-cv-00150-JCG Document 86               Filed 04/11/22      Page 12 of 18




remand determination in the second review appeal again found that a PMS existed in

Korea based on the cumulative effect of the five factors.34 In its review of that remand

determination, this Court concluded that the evidence concerning the five factors identified

by Commerce did not support a finding of a PMS whether considered individually or

collectively.35 This Court therefore held that Commerce’s first redetermination on remand

was unsupported by substantial evidence and directed Commerce to reverse its PMS

finding.36

       U.S. Steel appealed this Court’s decision in the appeal of the second OCTG review to

the Federal Circuit. In a decision issued on March 11, the Federal Circuit upheld this

Court’s substantive conclusion that Commerce’s finding on remand, that a PMS did exist

based on the alleged five factors, had not been supported by substantial evidence. In

particular, the Federal Circuit held that Commerce’s remand findings concerning at least

three of the factors allegedly supporting the determination that a PMS existed were not, in

fact, supported by substantial evidence.37 As a result, the Federal Circuit agreed with this

Court that Commerce’s finding of a PMS based on the “collective impact” of the five

factors was not supported by substantial evidence.38


34
     See id.
35
     See id. at 1343.
36
     See id.
37
   NEXTEEL Co. v. United States, 28 F.4th 1226 at 13 and note 4 (Fed. Cir. 2022)
(hereinafter “NEXTEEL-CAFC”) (“Because substantial evidence does not support the
above three circumstances, we need not reach the issue of whether substantial evidence
supports Commerce’s findings that each of the remaining two circumstances contributed to
a particular market situation because Commerce explicitly relied on the presence and
interaction of all five circumstances.”).
38
     See id.



                                            -9-
 Case 1:20-cv-00150-JCG Document 86                  Filed 04/11/22    Page 13 of 18




       The Federal Circuit did, however, disagree with this Court’s decision concerning the

appropriate response by the Court to Commerce’s flawed remand determination. The

Federal Circuit understood that, in NEXTEEL, this Court had ordered Commerce to reverse

its flawed findings and issue a new determination based on the conclusion that a PMS did

not exist. According to the Federal Circuit, such a response oversteps the Court’s lawful

role. Instead of ordering Commerce to reverse its earlier finding, the Federal Circuit held

that this Court must give Commerce an opportunity to reconsider the evidence once

more.39

       The procedural concerns raised by the Federal Circuit’s decision in NEXTEEL

obviously have no bearing on the present appeal. In this appeal, the Court’s remand order

did not direct Commerce to reach any specific outcome. Instead, the Court simply

identified flaws in Commerce’s analysis and remanded the matter to Commerce for further

explanation in light of the Court’s decision.40 That course is entirely consistent with the

requirements identified by the Federal Circuit in NEXTEEL.

             2.   The Federal Circuit’s Decision in NEXTEEL
                  Did Not Reject this Court’s Interpretation of the
                  Statutory Requirements for Finding that a PMS Exists

       Although the Federal Circuit’s decision in NEXTEEL reached the same substantive

result as this Court, U.S. Steel contends that the Federal Circuit’s analysis effectively

overturned certain legal conclusions embodied in this Court’s analysis in NEXTEEL and in

this Court’s October 19 decision in the present appeal. That argument is simply without

merit.


39
     See id. at 16-17.
40
     See SeAH Steel Corp., 539 F. Supp. 3d at 1358.


                                            - 10 -
 Case 1:20-cv-00150-JCG Document 86                    Filed 04/11/22    Page 14 of 18




                  a.     The Meaning of “Particular”

       U.S. Steel argues, for example, that the Federal Circuit’s decision indicates that this

Court has applied an improperly narrow definition of the term “particular.”41 According to

U.S. Steel, this Court’s decision has required that each individual distortion to be “wholly

unique” to the market. In U.S. Steel’s view, the “particularity” requirement allegedly

adopted by the Court has resulted in Commerce improperly discounting the “additional”

evidence U.S. Steel presented on remand that allegedly showed that the global steel

overcapacity contributed to a PMS in Korea.42

       U.S. Steel’s interpretation does not, however, reflect the actual holding by this Court

in its decision in this appeal. The Court did not require that each alleged factor be “wholly

unique” to the Korean market. Instead, this Court required only that substantial evidence

demonstrate that each identified factor actually had a “particular” effect on OCTG in

Korea during the review period.43

       The definition of “particular” applied by the Court in its decision in this appeal is

wholly consistent with the Federal Circuit’s decision in NEXTEEL, which explicitly agreed

with this Court’s view that “circumstances supporting a ‘particular’ market situation also

must be “particular” to producers of the subject merchandise during the relevant period.”44

In that regard, the Federal Circuit explained that “Commerce must find that the cost


41
     See U.S. Steel’s Comments at 10.
42
     See id. at 13-14.
43
  See e.g., SeAH Steel Corp., 539 F. Supp. 3d at 1355 (“The Court observes that the record
evidence cited by Commerce does not support a conclusion that the global glut of Chinese
hot-rolled coil imports caused price distortions specific to the Korean steel market.”).
44
  NEXTEEL-CAFC at 8 (internal quotations omitted) (citing SeAH Steel Corp. v. United
States, 513 F. Supp. 3d 1367, 1393 (Ct. Int’l Trade 2021)).


                                              - 11 -
 Case 1:20-cv-00150-JCG Document 86                    Filed 04/11/22   Page 15 of 18




incurred to produce the subject merchandise does not accurately reflect the cost of

production in the ordinary course of trade.”45 Accordingly, the Federal Circuit agreed that

evidence of an “ongoing global phenomenon” alone would not be sufficient to find a PMS

under the statute.46 Under this interpretation, “additional” evidence of the existence of

global steel overcapacity was insufficient to meet the substantial evidence standard.

                 b.    Reliance on Evidence Concerning Events Not
                       Contemporaneous with the Review Period

       U.S. Steel also claims that this Court’s October 19 decision in the present appeal

effectively forbade Commerce from considering evidence of actions affecting the Korean

market during periods that were not contemporaneous with the review period, while the

Federal Circuit’s decision in NEXTEEL explicitly allowed Commerce to consider such

non-contemporaneous evidence.47 Again, that claim is incorrect.

       To begin with, the Federal Circuit explicitly argued that at least some of the non-

contemporaneous evidence was not probative and could not support a PMS finding. Thus,

the Federal Circuit explicitly held that that evidence of restructuring efforts after the

review period “provide no evidence of actual government interference during the period of

review.”48 Furthermore, even when the non-contemporaneous evidence might be probative

(as a theoretical matter), the Federal Circuit held that Commerce could not simply adopt




45
     See id. (internal quotations omitted) (citing 19 U.S.C. § 1677b(e)).
46
     See id.
47
     See U.S. Steel’s Comments at 14.
48
  See e.g., NEXTEEL-CAFC at 13 (stating that evidence of restructuring efforts after the
review period “provide no evidence of actual government interference during the period of
review.”).


                                              - 12 -
 Case 1:20-cv-00150-JCG Document 86                   Filed 04/11/22   Page 16 of 18




the non-contemporaneous evidence, but instead was required to weigh that evidence

against contradictory contemporaneous evidence.49

       The Federal Circuit’s decision in NEXTEEL did hold that, when this Court effectively

issued a “directed verdict” that prevented the required weighing of probative

contemporaneous and non-contemporaneous evidence, this Court’s decision could not be

sustained.50 But the decision by this Court in the present appeal did not preclude such

weighing. Accordingly, U.S. Steel’s assertion that this Court’s decision in this appeal is

inconsistent with the Federal Circuit’s decision in NEXTEEL is simply baseless.

       D.    Differential Pricing Analysis

       In its Remand Redetermination, Commerce found that without the PMS adjustment,

the dumping margins for SeAH would be de minimis regardless of the comparison

methodology used. As a result, Commerce determined that it was not necessary to address

any issues concerning the use of the Differential Pricing Analysis to select a comparison

methodology.51 We agree that, as along as the dumping margin for SeAH is de minimis,

the issues concerning the Differential Pricing Analysis have been rendered moot and that it

is not necessary for Commerce to address them further in this appeal.




49
  See id. at 11 (explaining that the probative value of the non-contemporaneous
countervailing duty rate on hot-rolled coil from Korea for an earlier period must be
weighed against the probative value of the contemporaneous countervailing duty rate on
hot-rolled coil from Korea information on the record).
50
     See id. at 16-17.
51
     See Remand Redetermination at 7-8.


                                             - 13 -
 Case 1:20-cv-00150-JCG Document 86               Filed 04/11/22   Page 17 of 18




                                     CONCLUSION

    For the foregoing reasons, we respectfully request that the Court sustain Commerce’s

Remand Redetermination.


                                         Respectfully submitted,

                                         /s/ Jeffrey M. Winton

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April 11, 2022




                                         - 14 -
    Case 1:20-cv-00150-JCG Document 86               Filed 04/11/22     Page 18 of 18




                                 Certificate of Compliance


     Pursuant to the Court’s “Standard Chambers Procedures,” I, Jeffrey M. Winton,
hereby certify that the word count function of the word-processing system used to prepare
the foregoing brief indicates that the brief contains 3,324 words including headings,
footnotes, and quotations, but not including the cover, caption, table of contents, table of
authorities, any addendum containing statutes, rules or regulations, any certificates of
counsel, and counsel’s signature block.



                                                /s/Jeffrey M. Winton



April 11, 2022
